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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

     EMILIO PINERO,
         Plaintiff,
     vs.
                                                              Case No: 22-cv-23451-JEM
     LAUDINO        VELAZQUEZ        and    VICTOR
     VELAZQUEZ, Co-Trustees of the Residuary Trust
     established under Article V of the Last Will of
     MARIE P. VELAZQUEZ
     and
     LA REINA FURNITURE CORP,
           Defendant(s).


                             JOINT NOTICE OF SETTLEMENT

          Plaintiff, EMILIO PINERO, and Defendants, LAUDINO VELAZQUEZ and

     VICTOR VELAZQUEZ, Co-Trustees of the Residuary Trust established under Article V

     of the Last Will of MARIE P. VELAZQUEZ and LA REINA FURNITURE CORP, by

     and their respective undersigned counsel, hereby notify the Court that the Parties have

     reached a settlement. The Parties memorialized their agreement and finalized their

     settlement documents.

            Respectfully submitted,

     s/ Glenn R. Goldstein                    s/ Fernando S. Aran
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     s/ Lauren N. Wassenberg
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